       Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 1 of 11




COUNTERFEIT IPHONE ADAPTERS
A UL TECHNICAL INVESTIGATION SHOWS A 99 PERCENT FAILURE RATE
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 2 of 11


                                                                                  Counterfeit iPhone Adapters




A Report of the Dangers of Counterfeit
UL Marked Apple iPhone Adapters
The manufacture and sale of counterfeit goods is a global problem that
directly impacts legitimate producers and retailers in virtually every
industry. Because it is a criminal activity, measuring the size of the
counterfeiting market is inherently difficult, but one 2015 estimate puts the
size of the global market in counterfeit and pirated goods at more than $1.7
trillion (USD), up from $600 billion in 20101.


 A significant concern related to counterfeit electronic products and
accessories is safety. In most cases, counterfeit electronic products are
neither designed nor manufactured to meet industry safety standards,
and lack the safety features necessary to protect users from shock and fire
hazards. This problem is often exacerbated by the use of counterfeit safety
marks that mislead well-intentioned buyers and consumers regarding the
safety of the product they are purchasing.

As part of its ongoing effort to stem the sale of dangerous counterfeit power
products, UL researchers recently conducted testing on counterfeit iPhone
adapters. In total, we tested 400 adapters and the results were literally
shocking. The overall failure rate exceeded 99 percent. All but three failed
our basic safety tests and were fire and shock hazards. Twelve were so poorly
designed and constructed that they posed a risk of lethal electrocution to
the user.

This white paper will discuss the dangers of counterfeit power adapters,
present the results of the adapter testing in more detail, discuss UL’s efforts
to combat counterfeiting and provide guidance on how consumers can
recognize and avoid purchasing counterfeit adapters.




page 2
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 3 of 11


                                                                                       Counterfeit iPhone Adapters




The Dangers of Counterfeit Power Adapters
An adapter is a device that is used to supply or convert power from an electrical outlet into a form that the device
being powered can use. In the case of an Apple iPhone, a genuine adapter safely takes any input voltage ranging
from 100 to 240 V AC and converts it to 5 V DC. So, regardless of where in the world it is used, the adapter will
convert high voltage electricity from an outlet into a low voltage that safely charges the iPhone.

The design of the adapter and the materials used in its construction are critical to the adapter working safely.
Reputable manufacturers and companies such as Apple devote significant resources and money to make their
adapters safe and subject their adapters to rigorous testing for safety and reliability.

The market for external power adapters is a large one, with some estimates putting it at more than $8 billion
(USD) in global annual sales. Mobile phone adapters from legitimate suppliers generally retail for around $20 USD,
but counterfeit adapters are often sold for as little as a dollar, making the counterfeits attractive to a range of
customers, including, consumers, retailers and to corporations for giveaways and brand promotion campaigns.

Within the past few years, several highly publicized electrocution deaths have been linked to counterfeit/infringing
iPhone adapters. For example, in 2013, a man from Thailand was found dead holding his Apple iPhone plugged into
a wall outlet. An investigation conducted by Thailand’s National Broadcasting and Telecommunications Commission
(NBTC) later concluded that the adapter was not produced by Apple and was improperly shielded or grounded2.
Similar concerns were reportedly identified by Australia’s Department of Fair Trade in an investigation of the death
of a woman in Australia, who was electrocuted as she talked on a mobile phone plugged into an adapter that had
not been certified to applicable safety standards3.

The absence of a certification mark, such as a UL Mark, on a power adapter is a clear sign that the device has not
been tested for compliance with applicable safety standards. However, unscrupulous suppliers are increasingly
bypassing required safety testing and simply applying counterfeit certification marks to their products. This practice
means that even informed consumers can be fooled into purchasing counterfeit products that appear
to be legitimate.




page 3
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 4 of 11


                                                                                        Counterfeit iPhone Adapters




UL’s Testing of 400 Counterfeit Apple Phone Adapters
Apple has sold more than one billion iPhones worldwide since iPhone was first introduced in 20074. The sheer
number of Apple iPhones in use means that there is a lucrative market for supplementary power adapters and
other phone accessories. Of course, this market potential also means that there is a lucrative market for untested
counterfeit copies of Apple adapters.

UL decided to scientifically assess the actual danger associated with the use of counterfeit phone adapters. In a
controlled test program conducted by engineers at UL Canada, 400 counterfeit iPhone adapters with unauthorized
UL certification marks were subjected to a subset of product certification testing that would most readily identify
potential safety risks related to electric shock. The counterfeit adapters were obtained from multiple sources in
eight different countries around the world, including the U.S., Canada, Colombia, China, Thailand and Australia.




While a multitude of tests are typically performed during a standard product certification, there are two relatively
straightforward tests that can be conducted to gauge a product’s safety with respect to electric shock.

An electric strength test determines how well the adapter is isolated from the electrical mains. The unit is stressed
by applying high voltage between the input and the output side to see if or how much current will flow as a result.
If the amount of current flowing is above a specified threshold, the unit is said to have insufficient isolation and is
considered to have failed, and hence is judged unsafe with a significant potential for electric shock.




page 4
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 5 of 11


                                                                                      Counterfeit iPhone Adapters




Similarly, a touch current test serves
to measure the amount of current
that could potentially flow through
a person’s body when that person
comes into contact with the product
under examination. The adapter is
supplied with its rated voltage plus
a tolerance amount, and the touch
current or the current that leaks
through the adapter’s enclosure or
output cable to the iPhone or user
through to ground is measured. If
too much current leaks through,
the unit is said to have insufficient
isolation and is considered to have
failed and again is assessed unsafe
with risk of electrocuting the user.

The results of UL’s testing of
counterfeit phone adapters were
literally shocking. Part of the
test equipment was damaged by
energizing some of the counterfeit
adapters. Twenty-two samples
were immediately damaged
during the process of energizing
or during the leakage current test
with 12 samples having a very high
leakage current with a capacity for
electrocution.

With regard to the electric strength
test, only three of the four hundred
samples passed, which corresponds to a 99 percent failure rate. Selected construction reviews found issues with
the isolation transformer design. The internal components are vastly different when compared with a genuine UL
Listed Apple adapter. Post testing analysis of the tested samples revealed a complete lack of triple isolation wire
used for the secondary windings; neither the primary or secondary windings were separated properly, which is the
major reason for the dramatic failure rate on the electric strength test.




page 5
             Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 6 of 11


                                                                                      Counterfeit iPhone Adapters




UL’s Ongoing Efforts to Combat Counterfeiting
UL works closely with law enforcement to remove products bearing counterfeit UL trademarks from the stream
of commerce, and to hold accountable those responsible for their manufacture and distribution. UL has assisted
with hundreds of law enforcement and administrative actions related to counterfeit UL marked Apple adapters. UL
enforcement efforts include Customs interdictions globally, raids at manufacturing locations as well as at retailers
and wholesalers.




UL and Apple also work together globally to fight fake products, including shutting down counterfeit factories in
China. These actions have resulted in the removal of hundreds of thousands of counterfeit USB adapters off the
market around the world.




page 6
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 7 of 11


                                                                                        Counterfeit iPhone Adapters




One recent UL investigation highlights the scope of counterfeits in the marketplace. While working with law
enforcement agencies in Los Angeles, UL became aware of a distributor selling counterfeit Apple adapters. UL’s
investigation in cooperation with the Los Angeles Sheriff’s Department led to the execution of simutanious search
warrants at the distributor’s downtown Los Angeles locations. The raids resulted in the seizure of 29,000 counterfeit
UL marked Apple adapters, criminal charges against the seller and an additonal civil action by UL to recover the
counterfeiter’s profits from its crime.

Separately, working with Customs officials in Mexico, UL’s seized more than 90,000 counterfeit adapters in a single
shipment. Clearly, large numbers of counterfeits continue to be introduced into the marketplace.

UL has also been in the forefront of the fight against counterfeit products and safety marks worldwide. UL has
assisted local, national and international law enforcement agencies, including INTERPOL, EUROPOL, the U.S.
Department of Homeland Security, and other national customs bureaus and organizations in the identification
and seizure of counterfeit products and in efforts to thwart counterfeiting activities. The International Intellectual
Property Crime Investigators College, a joint training initiative of UL and INTERPOL, has trained thousands of law
enforcement authorities and officials to recognize and identify legitimate safety certification marks.

Finally, UL works closely with its clients to develop and implement anti-counterfeiting strategies that help to stem
the flow of unsafe counterfeit products and to protect the integrity of the UL Mark with buyers and consumers
alike. And UL is an active vocal advocate for consumer safety, proactively surveying the market for unsafe products,
alerting the public about potential product safety hazards, and correcting false and misleading claims about UL
certification.




page 7
             Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 8 of 11


                                                                                     Counterfeit iPhone Adapters




Identifying Counterfeit iPhone Adapters

  While
  The ULsome    counterfeit
          Listing           iPhone adapters
                  Marking appearing         can closely
                                     on a product       resemble
                                                  typically co   the genuine product, there are often
  nsists of four required elements:
  indicators that consumers can use to spot a fake, such as:

   • Color — All genuine UL certified Apple adapters are white in color.
   • Printed Text — Spelling mistakes, such as “Abble” instead of “Apple” or “Designed in Happy Travel”
     instead of “Designed by Apple in California,” as well as grammatical errors are clear indications of a
     counterfeit product.
   • Price — Genuine Apple iPhone adapters retail for approximately $19 (USD). An unusually low price for
     an adapter is one of the classic indicators it might be counterfeit.
   • Packaging — Genuine Apple iPhone adapters sold separately come in white Apple packaging and are
     not sold loose in bins or other packages.



  Genuine iPhone Adapter

    iPhone 4, iPhone 4s, iPhone 5, iPhone 5s, iPhone 6, iPhone 6 Plus, iPhone 7 and iPad mini


         5W USB Power Adapter




                                                                            Certification Label



                                    http://www.apple.com/power-adapters/


page 8
              Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 9 of 11


                                                                                           Counterfeit iPhone Adapters


Identifying Counterfeit UL Marks

  The UL Listing Marking appearing on a product typically consists of four required elements:
                         REAL                                                     COUNTERFEIT
   • UL certification mark (UL in a circle)
   • “LISTED” in capital letters
   • Control number or file/issue number
   • Product Identity




             LISTED                                    LISTED                                  LISTED

The enhanced UL Certification Mark now bundles multiple certifications into a single Mark; utilizes a unique identifier for
easier access to information at www.ul.com/database; communicates geographic scope of certification through country
codes; and describes the attributes that UL has certified about a product.

  The UL Enhanced  and Smart
         Listing Marking     Markson
                         appearing were  createdtypically
                                     a product    to deliver greater
                                                          consists ofclarity and acceptance
                                                                      four required         in the market
                                                                                    elements:
  today. The elements of these marks consist of:

   • The basic Enhanced Mark
   • SAFETY attribute
   • The ISO country code
   • A unique identifier
   • An optional QR code for the smart version




Additionally, a product name and issue/serial number or alphanumeric control number may also appear on a
certified product. To contact UL regarding a concern of a UL marked product, please submit your inquiry to
Report a Concern at ul.com.


page 9
                    Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 10 of 11


                                                                                                                                       Counterfeit iPhone Adapters




Conclusion

UL’s recent testing of counterfeit Apple iPhone adapters reveals the significant safety risk counterfeit adapters pose
to consumers. We strongly advise consumers to purchase UL certified adapters manufactured by Apple or other
legitimate sources and to discontinue using any adapters without an authentic UL Mark.

Continued aggressive efforts by UL, our clients such as Apple and law enforcement authorities to police trafficking
in counterfeit products are having an impact. But enforcement authorities, manufacturers, retailers and consumers
all have an important role to play in reducing counterfeits and helping to prevent unsafe products from reaching the
market.




For more information about counterfeiting and UL’s brand protection services,
contact www.ul.com/brandprotection.
©2016 UL LLC. All rights reserved. This white paper may not be copied or distributed without permission. It is provided for general information
purposes only and is not intended to convey legal or other professional advice.




page 10
            Case 1:18-cr-00258-BLW Document 340-5 Filed 01/02/20 Page 11 of 11


                                                                                   Counterfeit iPhone Adapters




Endnotes
1
 “Estimating the global economic and social impacts of counterfeiting and piracy,” a report commissioned by
the Business Action to Stop Counterfeiting and Piracy (BASCA), an initiative of the International Chamber of
Commerce, February 2011. Web. 29 August 2016. http://www.iccwbo.org/Advocacy-Codes-and-Rules/BASCAP/
BASCAP-Research/Economic-impact/Global-Impacts-Study/.

2
 “Fake iPhone charger blamed for death,” Bangkok Post, 7 March 2014. Web. 22 June 2016. http://www.
bangkokpost.com/tech/mobile/398698/inquiry-finds-iphone-user-killed-by-ungrounded-substandard-charger.

3
 “Cheap USB Charger Warning After Woman, Sheryl Aldeguer, Is Found Dead Holding Laptop in Apparent
Electrocution,” The Huffington Post, United Kingdom, 27 June 2014. Web. 22 June 2016. http://www.huffingtonpost.
co.uk/2014/06/27/cheap-usb-charger-warning_n_5536271.html.

4
 “Apple celebrates one billion iPhones”,Web. July 27, 2016. http://www.apple.com/newsroom/2016/07/apple-
celebrates-one-billion-iphones.html




page 11
